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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
INFRASTRUCTURE SERVICES                           )
LUXEMBOURG S.A.R.L., and                          )
ENERGIA TERMOSOLAR B.V.                           )
                                                  )
                      Petitioners,                )
                                                  )
               v.                                 )      Civil Action No. 1:18-cv-1753 (EGS)
                                                  )
THE KINGDOM OF SPAIN,                             )
                                                  )
                      Respondent.                 )
                                                  )
                                                  )

     SECOND EXPERT DECLARATION OF STEFFEN HINDELANG IN SUPPORT OF
      RESPONDENT KINGDOM OF SPAIN’S MOTION TO DISMISS PETITION TO
                      ENFORCE ARBITRAL AWARD

I.      INTRODUCTION

        1.     I, STEFFEN HINDELANG, make this declaration based upon my personal

knowledge, except as to those statements made upon information and belief, and I believe all

such statements, and the information upon which they are based, to be true.

        2.     This is my second declaration in this matter. I affirm all the statements made in

my first Expert Declaration in Support of Respondent the Kingdom of Spain’s Motion to Dismiss

Petition to Enforce Arbitral Award (“First Hindelang Declaration”) (D.E. 18-7) filed in

opposition to the petition to enforce the award issued on June 15, 2018 in Antin Infrastructure

Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v. The Kingdom of Spain,

ICSID Case No. ARB/13/31 (the “Award”) (D.E. 18).

        3.     My second declaration addresses the opinions on EU law expressed in the Expert

Declaration of Sir Alan Dashwood (D.E. 21), the opinions on State aid under EU law expressed

in the Expert Declaration of Conor Quigley (D.E. 22), and relevant opinions expressed in the

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Expert Declaration of Andrea K. Bjorklund (D.E. 20), submitted by Infrastructure Services

Luxembourg S.A.R.L. and Energia Termosolar B.V. (respectively “Infrastructure Services” and

“Energia”) in support of their Response to Spain’s Motion to Dismiss and Reply in Support of

Petition to Enforce Arbitral Award (D.E. 23).

       4.      Exhibits cited in this declaration without a D.E. number refer to Exhibits

appended to, and submitted with, this declaration.

       5.      A true and correct copy of all the new legal authorities I have relied upon are

produced and attached hereto as Exhibits to this declaration.

       6.      My expertise is restricted to European Union (“EU”) law and relevant public

international law. I do not express an opinion on any other law in this declaration.

II.    THE CJEU’S ACHMEA JUDGMENT APPLIES TO ARTICLE 26 OF THE ECT

       7.      In my first declaration, I explained that in its recent judgment in Slovak Republic

v. Achmea, the Court of Justice of the EU (the “CJEU” or the “Court”) confirmed that any

dispute resolution mechanism in an international treaty entered into by EU Member States which

hampers the functioning of the EU judicial system violates Articles 344 and 267 of the Treaty on

the Functioning of the European Union (“TFEU”) (D.E. 18-11, Hindelang Decl. Exhibit 4) and

the principles of primacy and autonomy they codify. CJEU, Case C-284/16,

ECLI:EU:C:2018:158, ¶¶ 32-33 – Achmea (“Achmea”) (D.E. 18-48, Hindelang Decl. Exhibit

41). Applying this rule, the CJEU concluded:

               Articles 267 and 344 TFEU must be interpreted as precluding a
               provision in an international agreement concluded between
               Member States, such as Article 8 of the Agreement on
               encouragement and reciprocal protection of investments between
               the Kingdom of the Netherlands and the Czech and Slovak
               Federative Republic, under which an investor from one of those
               Member States may, in the event of a dispute concerning
               investments in the other Member State, bring proceedings against


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               the latter Member State before an arbitral tribunal whose jurisdiction
               that Member State has undertaken to accept.

Id., ¶ 62 (emphasis added). I further explained in my first declaration that Article 26 of the

Energy Charter Treaty (“ECT”) (D.E. 1-3, Petition Exhibit 3), which formed the basis of the

purported arbitration agreement in the Award, is such a provision. It thus violates Articles 267

and 344 of the TFEU and is precluded by the EU Treaties. D.E. 18-7 ¶¶ 37-52.

       8.      Because CJEU decisions determine the law as it stood from its enactment, Article

26 of the ECT is inoperative between EU Member States ex tunc, i.e., from the time the ECT

came into force. This in turn means that from the moment the ECT was concluded, no valid offer

could have been made by any EU Member State to arbitrate disputes with nationals of another

EU Member State. Id., ¶¶ 26, 51-52. For this reason, there could not have been an arbitration

agreement between Spain, on the one hand, and two EU companies, Infrastructure Services and

Energia, on the other hand, under Article 26 of the ECT.

       9.      Dashwood’s declaration avoids addressing the palpable conflict between the

purported intra-EU arbitration agreement based on Article 26 of the ECT and the EU law

principle of autonomy, as codified in Articles 19(1), 267 and 344 of the TFEU, and the principle

of primacy, a cornerstone of the EU Treaties reflected in the “Declaration concerning Primacy”.

See Consolidated version of the Treaty on the Functioning of the European Union - Declarations

annexed to the Final Act of the Intergovernmental Conference which adopted the Treaty of

Lisbon, signed on 13 December 2007 - A. Declarations Concerning Provisions of the Treaties -

17. Declaration concerning primacy, OJ 115, 09/05/2008 P. 0344 - 0344 (Exhibit 13). These

principles were at the core of Achmea. Dashwood’s opinion focuses on immaterial differences

between the bilateral investment treaty between The Netherlands and Slovakia (the “Dutch-

Slovak BIT”) at issue in Achmea and the ECT, and misstates the reach of the principles of


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autonomy and primacy of EU law. The same holds true for Bjorklund’s declaration to the extent

she opines on the intersection of the ECT and EU law.

       10.     As elaborated below, these considerations and differences do not warrant

distinguishing the dispute resolution clause in the Dutch-Slovak BIT from Article 26 of the ECT

in applying Achmea. First, EU law – in particular, the Treaty on European Union (“TEU”) and

the TFEU (together, the “EU Treaties”) – is directly relevant to the interpretation of Article 26 of

the ECT under the Vienna Convention on the Law of Treaties of 1969 (“VCLT”) and constitutes

applicable law within the meaning of Article 26(6) of the ECT in disputes between an EU

Member State and an investor from another EU Member State.1 Second, the principle of

primacy of EU law, enshrined in the EU Treaties, is the supreme conflict rule governing the

relationship between the EU Treaties and other international agreements concluded by the EU

Member States. It means that Article 26 of the ECT does not apply between EU Member States

and precludes an EU Member State from extending a valid offer to arbitrate to a national of

another EU Member State. Third, the ruling and reasoning of Achmea apply to any provision

purporting to contain an offer to arbitrate, whether contained in a bilateral or multilateral treaty.

Fourth, it is irrelevant for this conclusion that the ECT is a multilateral treaty. Fifth, the EU’s

participation in the ECT does not save Article 26 of the ECT from violating the EU Treaties.

Sixth, the absence of an explicit “disconnection clause” in the ECT is not indicative of its

compliance with EU law.




1
  Article 26(6) reads: “A tribunal established under paragraph (4) shall decide the issues in dispute
in accordance with this Treaty and applicable rules and principles of international law.”

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       A.      The EU Treaties Constitute Applicable Rules of International Law Between
               EU Member States Within the Meaning of Article 26(6) of the ECT

       11.     Both Dashwood’s and Bjorklund’s declarations seek to obfuscate the fact that the

EU Treaties create rules of international law applicable between the EU Member States that

comprehensively govern the relations between them. Dashwood asserts that the reference to

“rules of international law” in Article 26(6) of the ECT is a reference to “general and customary

principles of international law and not international treaty law.” D.E. 21 ¶ 64. On that basis, he

concludes that Article 26(6) precludes the application of EU law by tribunals established under

that provision. See id., ¶¶ 62-67. He cites no authority to support the extraordinary claim that

“international law” does not include “international treaty law.” Instead, he makes reference to

the views of unidentified “international lawyers.”2 Id., ¶ 64. Bjorklund likewise opines –

without citing legal authority – that only the VCLT “sets out the approach treaty interpreters

should take,” and that this means the EU Treaties are not applicable to the dispute.3 D.E. 20

¶¶ 128-129.

       12.     Their declarations ignore that Article 26(6) of the ECT, by its terms, includes all

“applicable rules of international law.” Their reading of Article 26(6) of the ECT thus

contradicts Article 31 of the VCLT, which provides:




2
  Dashwood also attempts to distinguish the EU Treaties from the treaty in Achmea because the
article does not refer to “the law in force of the Contracting Party concerned,” or to “the provisions
of other relevant agreements between the Contracting Parties.” D.E. 21 ¶ 63. These differences
with Article 8 of the treaty at issue in Achmea are irrelevant to the meaning of Article 26(6) of the
ECT. The EU Treaties and other rules of EU law are rules of international law under Article 26(6)
and therefore must be applied under the ECT.
3
  The fact that I do not comment on each point made by Professor Bjorklund in respect of the
interpretation of the VCLT itself and its application to the ECT and to the EU Treaties does not
mean that I concur with her findings.

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               1. A treaty shall be interpreted in good faith in accordance with the
               ordinary meaning to be given to the terms of the treaty in their context and
               in the light of its object and purpose
               ...
               3. There shall be taken into account, together with the context:
               ...
               (c) any relevant rules of international law applicable in the relations
               between the parties.

As the International Court of Justice, the principal judicial organ of the United Nations, has

stated: “an international instrument has to be interpreted and applied within the framework of the

entire legal system prevailing at the time of the interpretation.” Legal Consequences for States of

the Continued Presence of South Africa in Namibia (South West Africa) notwithstanding Security

Council Resolution 276 (1970), Advisory Opinion, I.C.J. Reports 1971, p. 31, ¶ 53 (Exhibit 17)

(emphasis added).

       13.     Dashwood and Bjorklund do not dispute that the EU Treaties are international

treaties or deny that they satisfy the definition of a treaty set out in Article 2(1)(a) of the VCLT

that a treaty is “[a]n international agreement concluded between [s]tates in written form and

governed by international law.” The EU Treaties are thus undeniably international law. As

such, they would be “relevant rules of international law applicable in the relations between”

Spain, the Netherlands and Luxembourg under Article 31(3)(c) of the VCLT and must be taken

into account when interpreting and applying the ECT. More importantly, they form part of the

mandate in Article 26(6) of the ECT that a tribunal “shall decide the issues in dispute in

accordance with . . . applicable rules and principles of international law.” Any court or tribunal

interpreting or applying the ECT must therefore apply the EU Treaties as international law to

decide all issues in dispute, including jurisdiction and merits alike.

       14.     Accordingly, there is no doubt that Article 26 of the ECT falls within the ambit of

Achmea’s rule that a dispute resolution provision violates the EU Treaties if the tribunal “may be

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called on to interpret or . . . apply EU law.” Achmea, ¶ 42. In fact, the arbitral tribunal in this

case interpreted EU law when it decided that the EU Treaties did not preclude it from exercising

jurisdiction. Award, ¶¶ 223-230 (D.E. 1-1) (concluding, inter alia, that it “does not find

anything within the provisions of EU law, as invoked and pleaded by Spain, that overrides the

rights granted in Article 26 of the ECT regarding the settlement of disputes”). It is indeed not

uncommon for ICSID tribunals to face questions of EU law. By way of only one example, in

Electrabel v. Hungary, the tribunal found that the EU Treaties formed part of the “applicable

rules and principles of international law” within Article 26(6) of the ECT, but concluded,

wrongly (as now settled by Achmea) that investor-state arbitration disputes were outside of the

reach of Article 344 of the TFEU. See Electrabel S.A. v. Republic of Hungary, ICSID Case No.

ARB/07/19, Award (Nov. 25, 2015), ¶¶ 4.151-4.160 (Exhibit 18).

       15.     Moreover, as I explain in the next section, the EU Treaties, as interpreted by the

CJEU, provide for specific rules and principles that govern the interpretation of international

agreements between the EU Member States. These rules and principles take precedence over the

general rules of treaty interpretation under customary international law, as codified in the VCLT.

This entails that Article 26 (6) of the ECT itself must be interpreted and applied between the EU

Member States consistent with the EU Treaties and the rules and principles created by them.

CJEU, Case C-188/07, ECLI:EU:C:2008:359 ¶ 84 – Commune de Mesquer (Exhibit 3). Thus,

between EU Member States, Article 26(6) of the ECT must be read as compelling the tribunal to

apply the EU Treaties to clauses that relate to its jurisdiction and prohibiting the application of

such clause to the extent it is incompatible with the EU Treaties, lest such a tribunal improperly

circumvent the mandatory application of the EU Treaties.




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       B.      The EU Treaties Contain Specific Rules and Principles That Directly Impact
               the Manner in Which Other International Agreements Must Be Interpreted
               and Applied Between EU Member States

       16.     The VCLT, heavily relied on by Bjorklund, is recognized to have largely codified

the principles of customary international law relevant for the interpretation and application of

international treaties. This, however, does not mean that these rules are exhaustive or that States

may not modify or deviate from these default rules.4 Sovereign states can agree on specific rules

that apply to them and deviate from the default rules contained in the VCLT.5

       17.     Notably, Bjorklund agrees that the VCLT itself does not provide the solution for

the situation presented by the purported conflict between Article 26 of the ECT and Articles 267

and 344 of the TFEU, but “one must look to the treaties themselves to ascertain whether the

parties have given any indication as to their views of the hierarchy among treaty obligations.”

See Bjorklund Dec., ¶ 139 (D.E. 20). When looking for such indication, surprisingly, she

ignores the higher ranking conflict rule established by the EU Treaties.

       18.     By concluding the EU Treaties, the EU Member States have agreed to a set of

specific rules and principles that affect the manner in which other international agreements must

be interpreted and applied between EU Member States. Those rules and principles take



4
  See O. Dörr, “Article 31: General rule of interpretation,” VIENNA CONVENTION ON THE LAW OF
TREATIES: A COMMENTARY 559, 577, ¶ 32 (Dörr & Schmalenbach eds. 2017) (Exhibit 20) (“There
are much [sic] more rules of treaty interpretation applied in international practice and diplomacy
than are codified in Arts 31–33 VCLT. The Convention’s rules of interpretation are not exclusive
in a way that they prevent the interpreter from applying other principles compatible with the
general rule laid down in Art 31.”).
5
  This is consistent with the “residual character” of the VCLT because many of its rules and
principles only apply where a particular agreement does not “otherwise provide” or where the
contracting parties to an international agreement have not “otherwise agreed”. See K.
Schmalenbach, “Article 1: Scope of the Present Convention,” VIENNA CONVENTION ON THE LAW
OF TREATIES: A COMMENTARY 2, ¶ 2 (Dörr & Schmalenbach eds. 2017) (Exhibit 19); see, e.g.,
VCLT, Arts. 16, 20(4), 22(2), 24(3), 36(1), 22(3), 25(2), 37(1)).
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precedence over any default rules contained in the VLCT or any other purportedly “special”

rules created by the EU Member States such as those contained in the ECT.

          19.      As demonstrated next, first, the EU Treaties, as interpreted and applied by the

CJEU, contain specific rules on the interpretation of treaties concluded between the EU Member

States. Second, the EU Treaties, as interpreted and applied by the CJEU, provide specific rules

on the resolution of conflicts between the EU Treaties and other treaties involving the EU

Member States. The EU Member States are not permitted to derogate from or contract around

these rules (or any other rule established by the EU Treaties) by way of inter se agreements

between EU Member States.

                1. The EU Member States Have Agreed to Interpret and Apply the Terms of
                   the ECT in Conformity With the EU Treaties in Their Inter Se Relations

          20.      The EU Treaties impose comprehensive obligations on the EU Member States to

apply and give full effect to the EU Treaties with respect to all areas falling within their ambit.

This includes specific rules of interpretation which dictate that, in an intra-EU context, any rule

created by the EU Member States, irrespective of “whether the provisions in question were

adopted before or after the [respective rule in the EU Treaties…]6 or derive from international

agreements entered into by the Member State,” must be interpreted, “as far as possible, in the

light of the wording and the purpose of [the EU Treaties …], in order to achieve the result

pursued by the [EU Treaties …].” CJEU, Case C-188/07, ECLI:EU:C:2008:359 ¶ 84– Commune

de Mesquer (Exhibit 3).

          21.      Indeed, in accordance with these specific rules of (treaty) interpretation, i.e., the

so-called principle of “interpretation in conformity with European law” which reflects standing



6
    This includes any rule created on the basis of the EU Treaties.

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case law established in CJEU, Case 157/86, ECLI:EU:C:1988:62 ¶ 11 – Murphy (Exhibit 2), any

provision in the ECT must be interpreted in a way that accords with the requirements of the EU

Treaties. To the extent this is not possible any such provision must be held “inapplicable.” Id.

Thus, it follows that, upon accession to the EU, EU Member States agreed to interpret and apply

international agreements in their inter se relations in conformity with the rules and principles

arising out of the EU Treaties.

             2. The EU Treaties Take Precedence Over International Agreements in
                Relations Between the EU Member States, Including Any Conflict Rule such
                as Article 16 of the ECT

       22.      In particular, as I explained in my first declaration, the EU Treaties establish an

all-encompassing conflict rule, the principle of primacy of EU law. See D.E. 18-7 ¶¶ 20-24.

This rule means that in the international law relationships between EU Member States, the EU

Treaties and the legal order created by them prevail over any inconsistent treaty provision

entered into by the Member States.

       23.      A conflict between Article 26 of the ECT and the EU Treaties exists because,

under Achmea, Article 26, when applied to intra-EU investment disputes, conflicts with Articles

267 and 344 of the TFEU. D.E. 18-7 ¶¶ 37-52. Thus, as with Article 8 of the Dutch-Slovak BIT

in Achmea, the conflict between Article 26 of the ECT and the EU Treaties must be resolved by

giving priority to the provisions of Articles 267 and 344 of the TFEU.

       24.      Dashwood admits to the existence of the principle of primacy under the EU

Treaties, but nevertheless takes the position that “[t]o the extent that the ECT and the EU

Treaties cover the same subject matter,” Article 16 of the ECT would determine priority between

provisions of the ECT and EU Treaties. He is only able to assert this position because he

incorrectly denies that the primacy of EU law applies to treaties between EU Member States.

D.E. 21 ¶ 87. He simply ignores that it is “settled case-law of the [CJEU that] an international
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agreement cannot affect the allocation of powers fixed by the Treaties or, consequently, the

autonomy of the EU legal system, observance of which is ensured by the Court.” Achmea, ¶ 32.

It has long been a bedrock principle of EU law that “the provisions of a convention concluded. . .

by a Member State with another Member State could not apply … in the relations between those

States if they were found to be contrary to the rules of the Treat[ies]”. CJEU, Case C-3/91,

ECLI:EU:C:1992:420, ¶ 8 – Exportur (D.E. 18-27, Hindelang Decl. Exhibit 20) See also,

CJEU, Case 10/61, ECLI:EU:C:1962:2 – Commission v. Government of the Italian Republic

(D.E. 18-16, Hindelang Decl. Exhibit 9); CJEU, Case C-469/00, ECLI:EU:C:2003:295, ¶ 37 –

Ravil (D.E. 18-34, Hindelang Decl. Exhibit 27); CJEU, Case C-478/07, ECLI:EU:C:2009:521, ¶

98 – Budĕjovický Budvar (D.E. 18-39, Hindelang Decl. Exhibit 32); CJEU, Case C-546/07,

ECLI:EU:C:2010:25, ¶ 44 – Commission v. Germany (D.E. 18-40, Hindelang Decl. Exhibit 33).

       25.     EU Member States are not permitted to derogate from or contract around the

primacy of EU law (or any other rule established by the EU Treaties) by way of other

international agreements between them. In Kadi the CJEU made abundantly clear that “the

obligations imposed by an international agreement cannot have the effect of prejudicing the …

principles of the [Treaties].” CJEU, Joined Cases C-402/05 P and C0415/05 P,

ECLI:EU:C:2008:461, ¶ 285 – Kadi (“Kadi”) (D.E. 18-38, Hindelang Decl. Exhibit 31). See

CJEU, Case C-266/16, ECLI:EU:C:2018:118 ¶ 46 – Western Sahara Campaign UK (Exhibit 4)

(concluding in the context of an international agreement concluded by the EU, its Member States

and third countries, that “[t]he provisions of such agreements must therefore be entirely

compatible with the Treaties and with the constitutional principles stemming therefrom.”).

       26.     In sum, the principle of primacy enshrined in the EU Treaties is applicable to

treaties between EU Member States, including the ECT. It takes precedence over any other



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conflict rule in an intra-EU context. Assuming that Article 16 of the ECT can be involved in

relation to the provisions of the EU Treaties, the principle of primacy takes precedence over

Article 16 and it takes precedence over any other default provisions found in the VCLT. The EU

Member States cannot create any other “special” rules, such as the purported conflict rule in

Article 16 of the ECT, to derogate from their obligations under the EU Treaties.

       C.      The Legal Conclusions in Achmea Apply to Any Provision Purporting to
               Contain an Offer to Arbitrate from One EU Member State to Investors from
               another EU Member State

       27.     The CJEU’s findings of law and reasoning in Achmea apply to any provision

purporting to contain an offer to arbitrate from one EU Member State to investors from another

EU Member State that violates Article 267 and 344 of the TFEU, including 26 of the ECT. As

explained above, Article 16 of the ECT cannot change this result.7

       28.     Nor are the legal conclusions of the CJEU in Achmea restricted to the narrow

circumstances of the Dutch-Slovak BIT, as argued by Dashwood. See D.E. 21 ¶¶ 49-50.

Preliminary rulings govern situations beyond the specific facts which led to the ruling itself.



7
  I take notice of the fact that twenty-two of the twenty-eight EU Member States affirmed that
Article 26 of the ECT is in violation of the EU Treaties and, hence, it must be “disapplied” in an
intra-EU context. Declaration of the Representatives of the Governments of the Member States on
the Legal Consequences of the Judgment of the Court of Justice in Achmea and on Investment
Protection in the European Union 1-2 (Jan. 15, 2019) (Exhibit 14). The other EU Member States
chose not to comment on the status of Article 26 of the ECT in an intra-EU context, and instead
decided to wait until further consideration, including of an eventual decision by the CJEU on this
issue. See Declaration of the Representatives of the Governments of the Member States on the
Enforcement of the Judgment of the Court of Justice in Achmea and on Investment Protection in
the European Union 3 (Jan. 16, 2019) (Exhibit 15); Declaration of the Representative of the
Government of Hungary on the Legal Consequences of the Judgment of the Court of Justice in
Achmea and on Investment Protection in the European Union 3 (Jan. 16, 2019) (Exhibit 16).
Following the declarations made by the EU Member States, the European Commission reaffirmed
that the application of the arbitration provisions in the ECT in intra-EU disputes is “incompatible
with EU law.” European Commission, Press Release – Daily News, at 1 (Jan. 17, 2019) (Exhibit
12).

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Dashwood’s declaration recognizes that “the CJEU’s interpretative rulings are not only binding

on the national court that made the reference but also apply generally as binding legal precedents

in all EU national courts (‘erga omnes’ or ‘towards everyone’).” Id., ¶ 31. But he attempts to

avoid the general effect of the ruling by stating that “the binding effect of a preliminary ruling

applies only to the answer given by the CJEU to the question(s) of interpretation submitted to it

by the referring court.” Id., ¶ 32.

       29.     The notion that the binding effect of a preliminary ruling should be limited to the

facts of the question referred to the Court contradicts well-settled CJEU case law. The CJEU

declared in 1982 that its preliminary rulings are applicable to cases which “are not strictly

identical” to those already referred to the Court in the context of the preliminary ruling

procedure.8 CJEU, Case 283/81, ECLI:EU:C:1982:335, ¶ 14 – CILFIT (D.E. 21-26, Dashwood

Decl. Exhibit 26); see also D.E. 21 ¶ 31 n. 35 (also citing CJEU, Joined Cases 28 to 30/62,

EU:C:1963:6, 38 – Da Costa en Schaake v. Nederlandse Belastingadministratie (D.E. 21-24,

Dashwood Decl. Exhibit 24); CJEU, Case 68/74, EU:C:1975:11, Grounds of Judgment, ¶¶ 5-7 –

Alaimo v. Préfet du Rhône (D.E. 21-25, Dashwood Decl. Exhibit 25)). When the CJEU clarifies

the legal content of a rule or principle of EU law, this interpretation must be observed with ex

tunc effect. See, e.g., CJEU, Case C-292/04, ECLI:EU:C:2007:132, ¶ 34 – Meilicke, et al. v.

Finanzamt Bonn-Innenstadt (Exhibit 5).

       30.     Dashwood claims that the CJEU in Achmea was “developing its case law on

novel issues.” D.E. 21 ¶ 54. To the contrary, the CJEU’s ruling in Achmea expressly indicates



8
 The phrasing of the question by the EU Member State’s court may limit the CJEU’s ruling to the
specific provision(s) of EU law applicable to the question. However, the question does not have
any limiting effect on the scope of application of EU law, interpreted by the CJEU in the
preliminary ruling, to other situations absent an explicit pronouncement by the CJEU.

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that it is a continuation of a long-standing line of case law, which the CJEU carefully applied to

the situation of intra-EU investment arbitration in Achmea. In arriving at its conclusions in

Achmea the CJEU cites prior cases in which it had rejected dispute settlement clauses in

proposed treaties because they did not respect the EU Treaties. CJEU, Opinion 1/91,

ECLI:EU:C:1991:490, ¶¶ 40, 70 – EEA (D.E. 18-26, Hindelang Decl. Exhibit 19); Opinion 1/09,

ECLI:EU:C:2011:123, ¶¶ 74, 76 – European and Community Patents Court (D.E. 18-41,

Hindelang Decl. Exhibit 34) (Agreement creating a unified patent litigation system); and

Opinion 2/13, ECLI:EU:C:2014:2454, ¶¶ 182-83 – ECHR (Accession of the EU to the ECHR;

“Opinion 2/13”) (D.E. 18-44, Hindelang Decl. Exhibit 37). Therefore, it would be an

“extravagant conclusion,” in the words of Dashwood, to suggest that the reasoning advanced in

Achmea does not apply to the ECT in an intra-EU context in light of decisions showing a

consistent application the principles of EU law enshrined in the EU Treaties. See D.E. 21 ¶ 52.

       D.      It Is Irrelevant that the ECT Is a Multilateral Treaty

       31.     Dashwood argues that because the ECT is a multilateral treaty, and not a bilateral

treaty between two EU Member States (as the one involved in Achmea), the Achmea ruling does

not affect the application of Article 26 to intra-EU disputes. Dashwood’s declaration argues that

the inclusion of Article 26 in a multilateral agreement to which individual EU Member States are

parties in their own right, alongside the EU and third countries, cannot “be seen as a betrayal of

the mutual trust Member States are required to display towards each other nor as a matter of

Member States colluding in order to circumvent the EU judicial system.” D.E. 21 ¶ 70. He

further argues that the creation of the arbitration mechanism in Article 26 by the “collective will”

of all the parties to the ECT, including the EU, cannot be regarded as an act of Member States

contrary to Article 344 TFEU. D.E. 21 ¶ 72. However, these conclusions hinge on a mistaken



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reading of the Achmea ruling and ignore the foundational principles of EU law upon which it is

based, such as the mutual trust embedded in Article 344 of the TFEU.

       32.     First, the Achmea judgment is not limited to “bilateral” treaties. That term does

not appear in the main holding of the judgment:

               Articles 267 and 344 TFEU must be interpreted as precluding a
               provision in an international agreement concluded between
               Member States, such as Article 8 of the Agreement on
               encouragement and reciprocal protection of investments between
               the Kingdom of the Netherlands and the Czech and Slovak
               Federative Republic, under which an investor from one of those
               Member States may, in the event of a dispute concerning
               investments in the other Member State, bring proceedings against
               the latter Member State before an arbitral tribunal whose jurisdiction
               that Member State has undertaken to accept.

Achmea, ¶ 62 (emphasis added). As explained below, this holding is preceded by the Court’s

references to a line of cases involving multilateral agreements that reach the same conclusion as

Achmea regarding the invalidity of dispute resolution clauses that do not respect the autonomy of

the EU legal order as provided for in the EU Treaties. See id., ¶ 57.

       33.     Second, the application of the principle of “mutual trust” is not limited to bilateral

treaties between EU Member States. Article 344 encapsulates the Member States’ undertaking,

irrespective of the character of a particular agreement or treaty by which they make this

undertaking: “[EU] Member States undertake not to submit a dispute concerning the

interpretation or application of the Treaties to any method of settlement other than those

provided for therein.” This rule would be deprived of meaning if the Member States could

circumvent it by “collectively” agreeing to submit certain disputes to the methods of settlement

other than as provided for in the TFEU. See CJEU, Case C-459/03, ECLI:EU:C:2006:345 –

Commission v. Ireland (Mox Plant), ¶¶ 169-171 (D.E. 18-36, Hindelang Decl. Exhibit 29)

(involving the multilateral UN Convention on the Law of the Sea) (“The obligation devolving on


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Member States, set out in Article 292 EC [now Article 344], to have recourse to the Community

judicial system and to respect the Court’s exclusive jurisdiction, which is a fundamental feature

of that system, must be understood as a specific expression of Member States’ more general duty

of loyalty resulting from Article 10 EC.”). To conclude otherwise would infer into EU law the

option for EU Member States to collectively circumvent their obligations arising out of the EU

Treaties, especially by encroaching on the exclusive jurisdiction of the CJEU. That option is not

available to EU Member States.

       34.     Moreover, while the ECT is a multilateral treaty, the specific provision at issue,

Article 26, just like Article 8 of the Dutch-Slovak BIT, is premised on bilateral undertakings

among the contracting parties, whereby one “Contracting Party” and “another Contracting

Party,” the home of an investor, agree to submit investment disputes between the first Party and

the investor to arbitration.9 The CJEU found that Article 8 of the BIT was precluded by EU law

because:

               the Member States parties to it established a mechanism for settling
               disputes between an investor and a Member State which could
               prevent those disputes from being resolved in a manner that ensures
               the full effectiveness of EU law, even though they might concern
               the interpretation or application of that law.

Achmea, ¶ 56 (D.E. 18-48, Hindelang Decl. Exhibit 41). This is precisely what Article 26 does.

       35.     Further, the key factors that caused the Court to declare inoperative the dispute

resolution provision of Article 8 of the Dutch-Slovak BIT apply to Article 26 of the ECT: it


9
  The CJEU has previously addressed the situation where a multilateral treaty contains bilateral
relationships whereby Member States make certain undertakings inter se. See, e.g., CJEU, Case
10/61, ECLI:EU:C:1962:2 – Commission v. Government of the Italian Republic (D.E. 18-16,
Hindelang Decl. Exhibit 9) (addressing the situation of bilateral rights and obligations in a
multilateral treaty in respect of the General Agreement on Tariffs and Trade (GATT); holding that
GATT tariffs rules cannot be applied between the EU Member States to the extend they contradict
obligations in EU law).


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creates arbitral tribunals that are plainly not courts or tribunals within the EU legal system; these

tribunals “may be called on” to interpret and apply EU law; but they cannot refer questions of

EU law to the EU Court of Justice under Article 267 of the TFEU. Achmea, ¶¶ 42, 49, 56 (D.E.

18-48, Hindelang Decl. Exhibit 41).

        36.     Whether a treaty is bilateral or multilateral was irrelevant to the Court’s analysis.

The CJEU confirmed that Article 344 of the TFEU is not only applicable to proceedings between

EU Member States, but also to proceedings between individuals and EU Member States that

circumvent the preliminary ruling procedure. Achmea, ¶ 60 (D.E. 18-48, Hindelang Decl.,

Exhibit 41). This includes Article 26 of the ECT.

        E.      The EU’s Participation in the ECT Does Not Save Article 26 of the ECT from
                Being Inoperative in Accordance with Achmea

        37.     The Court’s reasoning in Achmea does not limit its legal conclusions on EU law

to the treaties to which the EU is not a party. Dashwood’s narrow conclusion that Achmea’s

holding is confined to “intra-EU BITs, not multilateral treaties or treaties to which the EU is

party such as the ECT” is based on a misreading of paragraphs 56 and 58 of Achmea. See D.E.

21 ¶¶ 43-50. The CJEU did not hold that an agreement to arbitrate is precluded by the TFEU

only “when contained in an international agreement between EU Member States.” Id., ¶ 4. To

the contrary, the CJEU’s reasoning in Achmea supports its application to any international

agreement, such as the ECT, regardless of whether “a large number of third countries” or the EU

itself is a signatory. Id., ¶ 50.

        38.     In the paragraphs leading to the final holding in paragraph 62 of Achmea, the

CJEU explains that the EU can provide for a dispute resolution mechanism in an international

agreement. Achmea, ¶ 57 (D.E. 18-48, Hindelang Decl. Exhibit 41) (“It is true that, according to

settled case-law of the Court, an international agreement providing for the establishment of a


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court responsible for the interpretation of its provisions and whose decisions are binding on the

institutions, including the Court of Justice, is not in principle incompatible with EU law.”).

However, this capacity is subject to a critical qualification, specifically that the rules of EU law

cannot be violated:

       The competence of the EU in the field of international relations and its capacity to
       conclude international agreements necessarily entail the power to submit to the
       decisions of a court which is created or designated by such agreements as regards
       the interpretation and application of their provisions, provided that the autonomy
       of the EU and its legal order is respected.

Id. (emphasis added). The Court cites three cases for this general rule: CJEU, Opinion 1/91,

ECLI:EU:C:1991:490, ¶¶ 40, 70 – EEA (“Opinion 1/91”) (D.E. 18-26, Hindelang Decl. Exhibit

19); Opinion 1/09, ECLI:EU:C:2011:123, ¶¶ 74, 76 – European and Community Patents Court

(“Opinion 1/09”) (D.E. 18-41, Hindelang Decl. Exhibit 34) (Agreement creating a unified patent

litigation system); and Opinion 2/13, ¶¶ 182-83 (D.E. 18-44, Hindelang Decl. Exhibit 37).

       39.     All of the treaties at issue in these cases were multilateral and the EU was a party

to each one. The participation of the EU did not affect the CJEU’s finding that they were in

breach of EU law – precisely because those agreements failed to respect “the autonomy of the

EU and its legal order.”

       40.     Opinion 1/91, referred to above, addressed the compatibility of the dispute

settlement bodies established by a draft international agreement between the EU and its Member

States, on the one hand, and the four countries of the European Free Trade Association, on the

other, relating to the creation of the European Economic Area. The CJEU found such bodies to

be “incompatible” with the TFEU because they would impinge on the CJEU’s exclusive

jurisdiction to make final determinations of EU law. See Opinion 1/91, ¶¶ 31-36, 40, 70-72

(D.E. 18-26, Hindelang Decl. Exhibit 19).



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       41.     Opinion 1/09 involved a multilateral agreement intending to create a European

and Community Patent Court to which the EU was a party. There, too, the CJEU found that the

envisaged European and Community Patent Court was not compatible with EU law. The CJEU

focused on the fact that the European and Community Patent Court had the effect of removing

disputes from the domestic judiciary of the EU Member States. Precisely because the European

and Community Patent Court deprived domestic courts of the EU Member States of their rights

and obligations to request preliminary rulings from the CJEU under Article 267 of the TFEU, the

CJEU concluded that the agreement in question was in violation of the principle of autonomy of

the EU legal order. Opinion 1/09, ¶¶ 80, 83, 89 (D.E. 18-41, Hindelang Decl. Exhibit 34).

       42.     Finally, in Opinion 2/13, the CJEU addressed the draft agreement of the EU’s

accession to the European Convention for the Protection of Human Rights and Fundamental

Freedoms (“ECHR”), another multinational international agreement to which the EU was

supposed to become a party. Again, the CJEU found that the accession agreement’s dispute

resolution provisions were not compliant with EU law. Opinion 2/13, ¶ 258 (D.E. 18-44,

Hindelang Decl. Exhibit 37). It reasoned that the agreement interfered with the judicial dialogue

established by Article 267 of the TFEU, and was therefore “liable adversely to affect the specific

characteristics of EU law and its autonomy.” Id., ¶¶ 199-200, 236-248. The CJEU also

concluded that it was “liable to affect Article 344 of the TFEU in so far as it does not preclude

the possibility of disputes between Member States or between Members States and the EU”

concerning matters of EU law. Id., ¶¶ 214, 224, 258.

       43.     Achmea simply applies these precedents. It extends their holdings on the

preclusive power of Articles 344 and 267 of the TFEU to any investor-state dispute resolution

clauses that would operate between EU Member States. Achmea, ¶ 58 (D.E. 18-48, Hindelang



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Decl. Exhibit 41). The holdings in Achmea and the preceding cases extend to any international

agreement which contains dispute settlement mechanisms incompatible with Articles 267 and

344 of the TFEU, including the ECT. Achmea, ¶ 62 (D.E. 18-48, Hindelang Decl. Exhibit 41).

       44.     The EU’s participation in the ECT is irrelevant to the question of whether the EU

Member States violated the principles of autonomy and primacy of EU law by circumventing the

preliminary ruling procedure of Article 267 of the TFEU when providing for intra-EU

investment arbitration in Article 26 of the ECT. This is because the EU does not have the power

to derogate from, override, or grant leave from the provisions in the EU Treaties.

       45.     First, the EU Treaties provide that any action of the EU must take place on the

“basis, . . . framework and . . . bounds” of the EU Treaties. CJEU, Case C-26/78,

ECLI:EU:C:1978:172, ¶ 9 – Viola (D.E. 18-20, Hindelang Decl. Exhibit 13). Article 218(11) of

the TFEU expressly provides that the EU Treaties represent the standard for legality of any

international agreement to which the EU is a party. Indeed, the EU Treaties and, with them, the

principle of autonomy of EU law, are the higher-ranking law which bind the EU in all its acts.

Kadi, ¶¶ 306-308 (D.E. 18-38, Hindelang Decl. Exhibit 31).

       46.     Second, Dashwood’s declaration asserts that because of the EU’s participation in

the ECT, “[b]y no stretch of language or logic could this be regarded as an act of Member States

contrary to Article 344.” D.E. 21 ¶ 72. But the EU – either alone or together with the EU

Member States – cannot alter the EU Treaties by means of an international agreement. See

CJEU, Case C-459/03, ECLI:EU:C:2006:345, ¶ 123 –Commission v. Ireland (“Commission v.

Ireland”) (D.E. 18-36, Hindelang Decl. Exhibit 29). Any change to the fundamental principle of

autonomy of EU law would require a formal amendment of the EU Treaties pursuant to specific




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procedures set forth in Article 48 of TEU, procedures which were not applied during the

conclusion of the ECT.

       47.     Thus, the EU may not and cannot alter the EU Treaties by means of an

international treaty. The EU can neither derogate from the EU Treaties nor relieve the EU

Member States from the principles of autonomy and primacy of EU law. See Kadi, ¶¶ 306-308

(D.E. 18-38, Hindelang Decl. Exhibit 31); Commission v. Ireland, ¶ 123 (D.E. 18-36, Hindelang

Decl. Exhibit 29).

       48.     Third, the CJEU recognized the limitations on the EU’s competence in Achmea

explaining that while “in principle” the EU may become party to treaties which create a dispute

settlement body tasked with the interpretation and application of “their” provisions, such dispute

settlement body must respect “the autonomy of the EU and its legal order.” Achmea, ¶ 57 (D.E.

18-48, Hindelang Decl. Exhibit 41).

       49.     It is legally irrelevant that “[n]o direct legal challenge has ever been made to the

compatibility of the [Energy Charter] Treaty with EU law.” D.E. 21 ¶ 99. The Commission has

consistently maintained as its primary position that Article 26 of the ECT does not apply to intra-

EU disputes. See, e.g., European Commission, Amicus Curiae Submission ¶¶ 77-81, Eiser

Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v. Kingdom of Spain, ICSID Case

No. ARB/13/36 – Annulment Proceedings (Nov. 12, 2018) (Exhibit 11); European Commission,

Application for Leave to Intervene as a Non-Disputing Party ¶¶ 16-23 (July 19, 2018), Eiser

Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v. Kingdom of Spain, ICSID Case

No. ARB/13/36 – Annulment Proceedings (Exhibit 9). The Commission’s failure to call this

provision “illegal” under the EU Treaties at the time of its ratification does not change anything.




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The ruling in Achmea authoritatively sets forth EU law with retroactive effects, and any steps

taken or not taken by the Commission are beside the point.

       50.     Finally, Bjorklund opines that “the European Union itself continues to conclude

treaties that have dispute settlement options similar to the ones offered in the Energy Charter

Treaty.” D.E. 21 ¶ 115. But as she herself acknowledges, those treaties are easily

distinguishable because they do not contain agreements between EU Member States to submit to

arbitration investment disputes between an investor from one EU Member State and another EU

Member State. Similarly, the fact that the European Commission has a negotiating mandate to

establish a “multilateral investment court,” which may provide dispute settlement external to the

courts of the European Union and its Member States, is also of no consequence. The

Commission’s negotiating mandate does not relate to intra-EU disputes but only to disputes with

third-country investors. Regardless, the viability of such a “multilateral investment court” would

depend on whether it respects the autonomy and primacy of EU law, which the ECT does not.

       51.     In sum, any international agreement or treaty concluded between EU Member

States – whether the EU is a party or not – must be in line with the EU Treaties. Here, the

application of the investor-state arbitration provision of Article 26 of the ECT between EU

Member States produces exactly the same conflict with the EU Treaties as the arbitration

provision in the BIT in Achmea. Therefore, Article 26 of the ECT is incompatible with Articles

267 and 344 TFEU, which preclude its application to disputes between investors of EU Member

States against another EU Member State under the ECT.

       F.      The Absence of A Disconnection Clause Is Irrelevant for the Question of the
               Conflict between Article 26 of the ECT and the EU Treaties

       52.     Dashwood’s declaration argues that “if the EU had considered the application of

Article 26 ECT to be problematic in the case of disputes between its Member States, it could and


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would have insisted on the inclusion in the treaty of a clearly drafted disconnection clause

designed to prevent such application.” D.E. 21 ¶ 14. Such an inference is unwarranted and

legally irrelevant.

        53.     The lack of a disconnection clause in the ECT does not mean the EU held

Dashwood’s position at the time of the ECT’s ratification. Indeed, the European Commission’s

own statements disproves that contention. See, e.g., European Commission, Amicus Curiae Brief

¶¶ 11-45, Novenergia II – Energy & Environment (SCA) v. Kingdom of Spain, SCC Case No.

2015/063 (May 2, 2017) (Exhibit 8) (explaining that at the time of the ECT’s conclusion, “the

EU Member States did not intend to create inter se obligations between them, just as in the case

of the WTO agreement” and that Article 26 of the ECT was not intended to be applied in the

intra-EU context).

        54.     Further, even if the EU had taken the position advanced in Dashwood’s

declaration, the EU’s ratification of the ECT without a disconnection clause would not cure

Article 26’s incompatibility with the EU Treaties. The CJEU has authoritatively determined that

the EU Treaties prohibit investor-state arbitration clauses agreed to between Member States such

as the one in Article 26 of the ECT. As noted above, the EU cannot by its “agreement” override

the EU Treaties.

        55.     Moreover, the absence of a disconnection clause in the ECT does not save Article

26 of the ECT from violating Articles 267 and 344 of the TFEU. For example, the absence of a

“disconnection clause” in the draft accession agreement of the EU to the ECHR did not cure the

breach of EU law. Rather, it rendered the agreement irreconcilable with Article 344 TFEU. In

Opinion 2/13 the CJEU held:

                the procedure for the resolution of disputes provided for in Article
                33 of the ECHR could apply to any Contracting Party and, therefore,

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               also to disputes between the Member States, or between those
               Member States and the EU, even though it is EU law that is in issue
               . . . The very existence of such a possibility undermines the
               requirement set out in Article 344 TFEU [CJEU, Opinion 2/13,
               ECLI:EU:C:2014:2454, ¶ 208 – ECHR (D.E. 18-44, Hindelang
               Decl. Exhibit 37)] . . . In those circumstances, only the express
               exclusion of the ECtHR’s jurisdiction under Article 33 of the ECHR
               over disputes between Member States or between Member States
               and the EU in relation to the application of the ECHR within the
               scope ratione materiae of EU law would be compatible with Article
               344 TFEU.

Opinion 2/13, ¶¶ 205-13 (D.E. 18-44, Hindelang Decl. Exhibit 37). Similarly, here, the non-

existence of a disconnection clause only underscores the arbitration clause’s incompatibility with

EU law.

III.   THE ARBITRAL AWARD RENDERED UNDER ARTICLE 26 OF THE ECT IN
       A DISPUTE BETWEEN AN EU MEMBER STATE AND A NATIONAL OF
       ANOTHER EU MEMBER STATE IS WITHOUT LEGAL FORCE

       56.     As explained above, no arbitration agreement could have formed under Article 26

of the ECT in an intra-EU investor-state dispute and any award there under is invalid under the

EU Treaties. That is precisely the ruling of the German Federal Court of Justice in its recent

Achmea Decision, concluding that “[a]ccording to the decision of the European Court of Justice

[CJEU] . . . there is no arbitration agreement between the parties” and thus “[t]he absence of an

arbitration agreement is equivalent to its invalidity.” Slovak Republic v. Achmea B.V.

Bundesgerichtshof [BGH] [Federal Court of Justice] Oct. 31, 2018, I ZB 2/15, ¶¶ 14-15 (D.E.

18-55, Exhibit 48).

       57.     Dashwood’s declaration states that “the principle of legal certainty appears to me

to demand that any ruling on the invalidity of applying Article 26 ECT in intra-EU disputes be

not given ex tunc effect from 1998, but that it should apply exclusively to future purported

acceptances of the offer to arbitrate.” D.E. 21 ¶ 95 (internal citation omitted). This position is

untenable under the CJEU’s prior rulings. Notably, in Meilicke, the Court ruled that:

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                [R]egard must be had to the settled case-law of the Court to the
                effect that the interpretation which, in the exercise of the jurisdiction
                conferred on it by Article 234 EC [now Article 267 of the TFEU],
                the Court gives to a rule of Community law [now EU law] clarifies
                and defines the meaning and scope of that rule as it must be or ought
                to have been understood and applied from the time of its entry into
                force. It follows that the rule as thus interpreted may, and must, be
                applied by the courts even to legal relationships which arose and
                were established before the judgment ruling on the request for
                interpretation …,

                [A]s the Court has consistently held, such a restriction may be
                allowed only in the actual judgment ruling upon the interpretation
                sought […]. Indeed, there must necessarily be a single occasion
                when a decision is made on the temporal effects of the requested
                interpretation, which the Court gives of a provision of Community
                law [now EU law]. In that regard, the principle that a restriction may
                be allowed only in the actual judgment ruling upon that
                interpretation guarantees the equal treatment of the Member States
                and of other persons subject to Community law, under that law,
                fulfilling, at the same time, the requirements arising from the
                principle of legal certainty.”

CJEU, Case C-292/04, ECLI:EU:C:2007:132 ¶¶ 34-37– Meilicke, et al. v. Finanzamt Bonn-

Innenstadt (Exhibit 5). See also CJEU, Case 309/85, ECLI:EU:C:1988:42, ¶¶ 12-13 – Bruno

Barra v Belgian State and City of Liège (Exhibit 1). Since the Court in Achmea has not

restricted the ex tunc effect of its preliminary ruling, restricting it in any later case is not an

option.

IV.       SPAIN WOULD BE IN VIOLATION OF EU LAW IF IT PAID ANY AMOUNT IN
          SATISFACTION OF THE AWARD

          58.   The EU Commission has already stated that “any compensation which an Arbitral

Tribunal were to grant to an investor on the basis that Spain has modified the premium economic

scheme by the [revised] schedule would constitute in and of itself State aid.” Commission

Decision 7384 of 10 November 2017 on State aid SA.40348(2015/NN) – Spain Support for

electricity generation from renewable energy sources, cogeneration and waste (“State Aid

Decision 7384”), ¶ 156 (emphasis added) (D.E. 18-50, Hindelang Decl. Exhibit 43). Further,

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any such compensation would be “notifiable State aid pursuant to Article 108(3) TFEU and be

subject to the standstill obligation.” Id.

       59.     In my first declaration, I demonstrated that the Award here does exactly what the

Commission found to be unlawful under the EU law; it seeks to compensate the Petitioners for

the changes in the premium economic scheme brought about by the revised scheme without prior

review and approval of this State aid measure by the Commission. D.E. 18-7 ¶¶ 56-58.

       60.     Under the TFEU, only the EU Commission has the authority and power to

investigate State aid measures and to make decisions on whether such measures can be

implemented. See TFEU, arts 107, 108 (D.E. 18-11, Hindelang Decl. Exhibit 4). EU Member

States may not implement State aid measures without the Commission’s approval. Quigley

agrees that “[a]id put into effect without having been first approved by the Commission as being

compatible with the internal market is ‘unlawful aid.’” (D.E. 22, ¶ 18). I am not aware of any

decision by the Commission allowing Spain to implement the said State aid measure, i.e. the

payment of the Award. Quigley cites none. Mr. Quigley’s opinion that the Commission errs in

its State Aid Decision 7384 does not change this fact.10 See (D.E. 22, ¶¶ 41, 44 et seq,)

       61.     The standstill obligation contained in Article 108(3) of the TFEU to not pay the

Award is, furthermore, triggered independently of the Commission’s statements as the Award

constitutes unlawful State aid. D.E. 18-7 ¶¶ 56-58. Moreover, Spain requested the

Commission’s confirmation that payment of a similar award issued in another arbitration matter

involving the same regulatory scheme addressed in State Aid Decision 7384, would be unlawful

under the EU law. See Communication from the Legal Service of the European Commission to




10
  I am also not aware that the Petitioners have challenged the State Aid Decision 7384, and I note
that they do not claim to be challenging it.
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the Attorney General of the Kingdom of Spain 2-3 (October 26, 2018) [hereinafter “EC Legal

Service Communication”] (Exhibit 10). The Commission confirmed that it would, in fact, be

unlawful. Id. (“[Under Article 108(3) of the Treaty on the Functioning of the European Union

(TFEU), Member States cannot put the State aid measures into effect without prior approval by

the Commission of the State aid in question as aid compatible with the internal market.”). The

Commission also recalled that “the payment of compensation before the Commission rules on its

compatibility would be contrary to Union Law, in particular to Article 108(3) TFEU.” Id., p. 2.

       62.     Paying the Award in contravention of Spain’s obligations under Article 108 (3) of

the TFEU would make it subject to sanctions under EU law. The Commission has the power to

compel Spain to recover any amounts paid under the Award without the Commission’s approval.

It can also commence an infringement proceeding against Spain before the CJEU if Spain is

unable to recover such payments, and, eventually, may seek the imposition of monetary

penalties. For example, in CJEU, Case C-93/17, EU:C:2018:903 – Commission v. Greece

(Exhibit 7), the EU Court of Justice ordered Greece to pay 10 million euros as well as a periodic

penalty payment of 7,294,000 euros for every six month period in which the unlawful State aid

granted by Greece to Hellenic Shipyards had not yet been recovered.11




11
   I also respectfully disagree with Quigley’s analysis and conclusions. For example, he argues
that the compensation ordered in the Award does not confer any “economic advantage on the
investors.” However, such ordered compensation undoubtedly confers an economic advantage
upon the Petitioners that would not otherwise have been available to them under normal market
conditions. See CJEU Case C-39/94, EU:C:1996:285, ¶ 60– SFEI and Others (D.E. 18-28,
Hindelang Decl., Exhibit 21); CJEU, Case C-342/96, EU:C:1999:210 ¶ 41 – Spain v. Commission
(Exhibit 6). Further, the advantage is selective because the obligation to pay damages did not arise
from the application of a general rule of law for government liability. See Commission Decision
2015/1470, ¶¶ 109 et seq. (D.E. 18-49, Hindelang Decl., Exhibit 42). The criteria for state aid is
therefore satisfied.


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       63.     Finally, Quigley’s argument that the tribunal did not “encroach on the

Commission’s competence to review State aid” because the Tribunal did not make any “specific

finding relating to State aid” misses the obvious. See (D.E. 22, p. 9, ¶ 30). It is one thing to

review State aid issues, and fundamentally another to issue and compel payment in violation of

the EU State aid rules. See Commission Decision 2015/1470 (D.E. 18-49, Hindelang Decl.

Exhibit 42) (determining that payment by Romania of an arbitral award rendered by a tribunal

for breaches of an intra-EU investment treaty constituted unlawful State aid even though the

arbitral tribunal did not review State aid). Regardless of the tribunal’s reasoning and findings in

the underlying arbitration, it awarded State aid by issuing the Award, which Spain cannot pay

without violating the EU Treaties and being subjected to serious sanctions under EU law.



I declare under the penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Signed on February 19, 2019
Berlin, Germany




                                                                        Steffen Hindelang




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                                  INDEX OF EXHIBITS

     Second Expert Declaration of Steffen Hindelang in Support of Respondent the
       Kingdom of Spain’s Reply Memorandum of Law in Support of Motion to
                    Dismiss Petition to Enforce Arbitral Award


1.   Cases before the Court of Justice of the European Union

     a.     CJEU, Case 309/85, ECLI:EU:C:1988:42 – Bruno Barra v Belgian State and City
            of Liège (Exhibit 1)
     b.     CJEU, Case 157/86, ECLI:EU:C:1988:62 – Murphy (Exhibit 2)
     c.     CJEU, Case C-188/07, ECLI:EU:C:2008:359 – Commune de Mesquer (Exhibit 3)
     d.     CJEU, Case C-266/16, ECLI:EU:C:2018:118 – Western Sahara Campaign UK
            (Exhibit 4)
     e.     CJEU, Case C-292/04, ECLI:EU:C:2007:132 – Meilicke, et al. v. Finanzamt
            Bonn-Innenstadt (Exhibit 5)
     f.     CJEU, Case C-342/96, EU:C:1999:210 – Spain v. Commission (Exhibit 6)
     g.     CJEU, Case C-93/17, EU:C:2018:903 – Commission v. Greece (Exhibit 7)

2.   European Commission Documents

     a.     European Commission, Amicus Curiae Brief, Novenergia II – Energy &
            Environment (SCA) v. Kingdom of Spain, SCC Case No. 2015/063 (May 2, 2017)
            (Exhibit 8)
     b.     European Commission, Application for Leave to Intervene as a Non-Disputing
            Party (July 19, 2018), Eiser Infrastructure Limited and Energía Solar
            Luxembourg S.à r.l. v. Kingdom of Spain, ICSID Case No. ARB/13/36 –
            Annulment Proceedings (Exhibit 9)
     c.     Communication from the Legal Service of the European Commission to the
            Attorney General of the Kingdom of Spain (Oct. 26, 2018) (Exhibit 10)
     d.     European Commission, Amicus Curiae Submission (Nov. 12, 2018), Eiser
            Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v. Kingdom of
            Spain, ICSID Case No. ARB/13/36 – Annulment Proceedings (Exhibit 11)
            (excerpts)
     e.     European Commission, Press Release – Daily News (Jan. 17, 2019) (Exhibit 12)

3.   European Union Authorities

     a.     Consolidated version of the Treaty on the Functioning of the European Union
            Declarations annexed to the Final Act of the Intergovernmental Conference which
            adopted the Treaty of Lisbon, signed on 13 December 2007 - A. Declarations
            Concerning Provisions of the Treaties - 17. Declaration concerning primacy,
            Official Journal 115, 09/05/2008 P. 0344 - 0344 (Exhibit 13)




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     b.     Declaration of the Representatives of the Governments of the Member States on
            the Legal Consequences of the Judgment of the Court of Justice in Achmea and on
            Investment Protection in the European Union (Jan. 15, 2019) (Exhibit 14)
     c.     Declaration of the Representatives of the Governments of the Member States on
            the Enforcement of the Judgment of the Court of Justice in Achmea and on
            Investment Protection in the European Union (Jan. 16, 2019) (Exhibit 15)
     d.     Declaration of the Representative of the Government of Hungary on the Legal
            Consequences of the Judgment of the Court of Justice in Achmea and on
            Investment Protection in the European Union (Jan. 16, 2019) (Exhibit 16)

4.   Other Foreign and International Court Decisions

     a.     Legal Consequences for States of the Continued Presence of South Africa in
            Namibia (South West Africa) notwithstanding Security Council Resolution 276
            (1970), Advisory Opinion, I.C.J. Reports 1971 (Exhibit 17)
     b.     Electrabel S.A. v. Republic of Hungary, ICSID Case No. ARB/07/19, Award
            (Nov. 25, 2015) (Exhibit 18) (excerpts)

5.   Secondary Sources

     a.     K. Schmalenbach, “Article 1: Scope of the Present Convention,” VIENNA
            CONVENTION ON THE LAW OF TREATIES: A COMMENTARY 21 (Dörr &
            Schmalenbach eds. 2017) (Exhibit 19) (excerpts)
     b.     O. Dörr, “Article 31: General rule of interpretation,” VIENNA CONVENTION ON THE
            LAW OF TREATIES: A COMMENTARY 559 (Dörr & Schmalenbach eds. 2017)
            (Exhibit 20) (excerpts)




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